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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

TIFFANY GRASKE, on behalf
of herself and on behalf of all others
similarly situated,

       Plaintiff,
v.                                                   Case No.: 8:15-cv-01432

MOLLY GOODHEAD’S, INC.,

      Defendants.
_________________________________________/

                    JOINT MOTION FOR APPROVAL OF SETTLEMENT
                     AGREEMENT AND DISMISSAL WITH PREJUDICE

       Named Plaintiff, Tiffany Graske, and Opt-In Plaintiff Johanna Gray (“Plaintiffs”), and

Defendant, Molly Goodhead’s Inc., (all Parties collectively “the Parties”), pursuant to Lynn’s

Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982), respectfully ask that the

Court approve the attached Fair Labor Standards Act (“FLSA”) Settlement Agreements and

dismiss this case with prejudice. The Agreements should be approved because they represent fair

resolutions of two bona fide disputes, as required by Lynn’s.



                              PROCEDURAL BACKGROUND

       1.      Named Plaintiff Tiffany Graske filed her Complaint against Defendant on June 17

(see Doc. no. 1), alleging that Defendant failed to pay her overtime and minimum wage

compensation in violation of the FLSA. Opt-In Plaintiff Johanna Gray filed her consent-to-join

form on July 23, 2015. (Doc. 9). Defendant denied – and still denies – Plaintiffs’ allegations.

       2.      Prior to Gray joining the lawsuit, on July 9, 2015 the Court entered an FLSA

Scheduling Order requiring the parties to exchange substantive information on the claims and

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defenses at issue in this lawsuit, including in the form of sworn responses to the Court’s FLSA

interrogatories (by Plaintiffs) and in the form of verified summaries of hours worked (by

Defendant).

       3.       After exchanging the documents and information required by the Court’s FLSA

Scheduling Order, counsel for the parties reached agreements for both Plaintiffs.

       4.       Graske originally sought $1,725.00 in damages for her FLSA claims, plus an

equal amount in liquidated damages, and attorneys’ fees. (Doc. 14, p. 2). Gray originally sought

$2,520.00 in damages for her FLSA claims, plus an equal amount in liquidated damages, and

attorneys’ fees. (Doc. 14, p. 2). After the exchange of information required by the Court’s FLSA

Scheduling Order proceeded, Defendant challenged the number of compensable overtime hours

worked by Graske and Gray. Defendant also disputed whether it had, in fact, complied with the

FLSA’s requirements for tip-pooling and the applicable service credit for Graske’s minimum

wage claim.

       5.       The Parties disagreed over the following issues, each of which is relevant as to the

FLSA claims brought by Plaintiffs and were contemplated when the Parties reached a resolution:

               Whether Plaintiffs individually worked in excess of 40 hours in any particular
                week and, if so, whether Plaintiffs received overtime payment for that (or those)
                week(s);

               Whether Defendant correctly utilized the FLSA’s tip-pool and its applicable
                service credit;

               Whether Plaintiffs could establish facts at trial showing that Defendant’s alleged
                failure to pay overtime, if any, was done knowingly, willfully or recklessly;

               The accuracy of Defendant’s records as to hours worked.




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        6.        Based upon the Agreements reached between the Parties, the total settlement

amounts to be paid to Plaintiff are as follows:

                 Claims         Total           FLSA                 FLSA              Amount
                              Recovered       Back wages           Liquidated         originally
                                                                    damages            claimed
                 Tiffany       $2,000             $1,000             $1,000          $1,725 + liq

                 Graske

             Johanna Gray      $3,500             $1,750             $1,750          $2,520 + liq


        7.        The Parties have also agreed that pending entry of an Order by the Court

approving the Parties’ Settlement Agreement, Defendant will pay Plaintiffs’ counsel a total of

$2,500.00 in attorneys’ fees and costs. This represents the gross amount of fees and costs

recovered by Plaintiffs’ counsel for the FLSA claims of both Plaintiffs. Importantly, attorney’s

fees and costs were negotiated and settled independently of the agreed-upon settlement amounts

for Plaintiff.

        WHEREFORE, the Parties respectfully move this Court to enter an Order approving the

attached Settlement Agreements, and dismissing this case with prejudice.



                                  MEMORANDUM OF LAW

I.      The Court Should Approve the Settlement Agreements.

        A.        Standard of review.

        Pursuant to the case law of this Circuit, judicial review and approval of a tentative FLSA

settlement is necessary to give it final and binding effect. Lynn’s, 679 F.2d at 1350 (11th Cir.

1982). As the Eleventh Circuit held in Lynn’s:




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       There are only two ways in which back wage claims arising under the FLSA can be
       settled or compromised by employees. First, under section 216(c), the Secretary of Labor
       is authorized to supervise payment to employees of unpaid wages owed to them….The
       only other route for compromise of FLSA claims is provided in the context of suits
       brought directly by employees against their employer under section 216(b) to recover
       back wages for FLSA violations. When employees bring a private action for back wages
       under the FLSA, and present to the district court a proposed settlement, the district court
       may enter a stipulated judgment after scrutinizing the settlement for fairness.

Id. at 352- 53.

       Before approving an FLSA settlement, the court must scrutinize it to determine if it is “a

fair and reasonable resolution of a bona fide dispute.” Id. at 1354-55. If the settlement reflects a

reasonable compromise over issues that are actually in dispute, the Court may approve the

settlement ‘in order to promote the policy of encouraging settlement of litigation.’ ” Id. at 1354.

In determining whether the settlement is fair and reasonable the Court should consider the

following factors: (1) the existence of fraud or collusion behind the settlement; (2) the

complexity, expense, and likely duration of the litigation; (3) the stage of the proceedings and the

amount of discovery completed; (4) the probability of plaintiff’s success on the merits; (5) the

range of possible recovery; and (6) the opinions of the counsel. See Leverso v. South Trust Bank

of Ala., Nat. Assoc., 18 F.3d 1527, 1531 n.6 (11th Cir. 1994); Hamilton v. Frito-Lay, Inc., No.

6:05-cv-592-Orl-22JGG, 2007 U.S. Dist. LEXIS 10287, at *2- 3, (M.D. Fla. Jan. 8, 2007).           A

trial court must always be mindful of the strong presumption in favor of finding a settlement fair.

Hamilton, 2007 U.S. Dist. LEXIS at * 2-3.

       B.         All of the Relevant Criteria Support Final Approval of the Agreements.

                  1.    This settlement was the result of an arm-length’s transaction, not
                        fraud or collusion.

       Courts have found no fraud or collusion where both parties were represented by counsel

and the amount to be paid to the plaintiff seemed fair. See Helms v. Central Fla. Reg. Hosp., No.



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6:05-cv-383-Orl-22JGG, 2006 U.S. Dist. LEXIS 92994, at *11-12 (M.D. Fla. Dec. 21, 2006).

Here, each Party was independently represented by counsel with experience in litigating claims

under the FLSA. Each counsel was obligated to, and did, vigorously represent their clients’

rights. Based on the amounts to be paid to Plaintiffs, it is clear that there was no fraud or

collusion.

               2.      The remaining factors identified in Leverso weight in favor of
                       approving the Parties’ Settlement Agreements.

       The probability of success on the merits, and the complexity, expense, and length of

future litigation also militate in favor of this settlement. The Parties exchanged information and

documents related to Plaintiffs’ wages and hours worked before reaching an agreement. Hence,

the Agreement was reached when the Parties were fully able to make a reasonable and educated

evaluation of the strengths and weaknesses of their respective positions as reflected by the actual

evidence. If the Parties continued to litigate this matter, they would be forced to engage in costly

litigation with an outcome that remained uncertain for both parties.

       There were a number of key issues that were disputed from the inception of this case.

First, there was the issue of whether the Plaintiffs actually worked overtime. If Plaintiff failed to

show that they worked the hours claimed, it is unlikely that Defendant would owe them overtime

compensation. Also, Defendant contends its use of the tip-pooling credit that reduced the

minimum wage owed to Plaintiffs was both valid and FLSA compliant. Lastly, Plaintiff also

understood that Defendant would offer evidence at trial of hours worked which was different

from their own calculations as to hours worked.




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               3.     The Court should also approve the fees and costs provisions of the
                      Agreements, which were negotiated and settled independent and in
                      seriatim of the Plaintiffs’ claims.

       This Court should also approve the attorneys’ fees and costs provision of the Settlement

Agreements because the parties complied with this Court’s ruling in Bonetti v. Embarq. Mgmt.

Co., 2009 WL 2371407 (M.D.Fla. Aug., 2009) when determining fees and costs. In Bonetti the

Court held that if the Plaintiff's recovery and attorney's fees were settled independently of the

Plaintiff's claims, there would be no need to file the attorney's billing records unless the fees

were out of line compared with the settlement agreement. Thus, the award of attorney's fees and

costs would no longer require approval using the lodestar approach. In this case, Plaintiffs’ fees

and costs in the amount of $2,500 were negotiated and settled independently of Plaintiff’s FLSA

claims. Therefore, based upon the record before the Court, the parties also ask that the Court

approve the attorneys’ fees and costs provision of the attached Settlement Agreement.



                                          Conclusion

       Based upon the foregoing reasons, this Court should grant this Joint Motion, approve the

Parties’ Settlement Agreement, and dismiss this case with prejudice.

       DATED this 13th day of October, 2015.

                                     Respectfully submitted,

/s/ Brandon J. Hill                            /s/ Eduardo Alberto Suarez-Solar
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on 13th day of October, 2015, a true and correct copy of the

foregoing was presented to the Clerk to the Court for filing and uploading to the CM/ECF system

which will send a notice of electronic filing to Counsel of record.

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                                                     /s/ Brandon J. Hill
                                                     Brandon J. Hill, Esq.




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